Case: 1:18-cv-06447 Document #: 150 Filed: 12/10/21 Page 1 of 1 PageID #:1236

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Malibu Media, LLC
                                                     Plaintiff,
v.                                                                Case No.: 1:18−cv−06447
                                                                  Honorable Thomas M.
                                                                  Durkin
John Doe, subscriber assigned IP address
73.176.168.82, et al.
                                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, December 10, 2021:


         MINUTE entry before the Honorable Thomas M. Durkin: Motion hearing set for
12/14/2021 is vacated. A telephone hearing as to the amended motion for turnover order
[149] is set for 12/15/2021 at 9:30 a.m. To join the telephone conference, dial
877−402−9757, Access Code 4410831. Members of the public and media will be able to
call in to listen to this hearing. Please be sure to keep your phone on mute when you are
not speaking. Persons granted remote access to proceedings are reminded of the general
prohibition against photographing, recording, and rebroadcasting of court proceedings.
Violation of these prohibitions may result in sanctions, including removal of court issued
media credentials, restricted entry to future hearings, denial of entry to future hearings, or
any other sanctions deemed necessary by the Court. Mailed notice. (ecw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
